




NO. 07-06-0273-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 17, 2006



______________________________



SHEON ANTHONY POLK, APPELLANT





v.



THE STATE OF TEXAS, APPELLEE						_________________________________



FROM THE 47
TH
 DISTRICT COURT OF POTTER COUNTY;



NO. &nbsp;52,537-A; HON. HAL MINER, PRESIDING

_______________________________



Before QUINN, C.J., CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

Appellant Sheon Anthony Polk appeals his conviction for possession of a controlled substance after a plea of guilty pursuant to a plea bargain. &nbsp;The certification of appeal executed by the trial court does not disclose that he has the right of appeal; rather it states that he has no right of appeal. &nbsp;By letter dated September 29, 2006, this court notified appellant of this circumstance and that the appeal was subject to dismissal. &nbsp;The court also requested that he either supply us with an amended certification illustrating that he has a right to appeal or inform us why we should continue the appeal, by October 9, 2006. &nbsp;That deadline has elapsed and we have received neither a response nor amended certification. &nbsp;Thus, we dismiss the appeal. &nbsp;See 
Tex. R. App. P. 
25.2(d) (requiring that the appeal be dismissed if a certification that shows that the defendant has a right of appeal has not been made part of the record).

Accordingly, the appeal is dismissed.



James T. Campbell

Justice





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